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                                                                  price would be $150,(00 and that they would sign an “option
                                                                  to purchase” contract. They also stipulated that on he day
Texto original en espanol
                                                                  on which the contract was to be signed, Atty. Irizarry López
   2001 JTS 164, 155 D.P.R. 713, 2001 WL 1555664
        (P.R.), 2001 TSPR 161, P.R. Offic. Trans.                 would pay $5,000.4 Said attorney requested a copy of the
                                                                  deed and a certification of liens and encumbrances, since the
           Harold D. IRIZARRY López,                              property was encumbered by several mortgages.5 According
         Nelly Ivette Talavera Rodríguez,                         to the agreement, the buyer promised to cancel the mortgage
                                                                  liens and the seller promised to pay attorney and notarial fees,
          and the Conjugal Partnership                            as well as the registration fees resulting from the transaction.
        constituted by both, Respondents                          It was further agreed that the existing mortgage to H.F.
                         v.                                       Mortgage would be assumed or pa id by the buyer.6
           Carlos T. GARCÍA Cámara,
                                                                  The parties signed the “option to purchase” contract on April
         Frances Joan Tramal Gutiérrez,                           1, 1993. Present were the parties and a real estate broker
          and the Conjugal Partnership                            surnamed Del Toro. Several changes to the contract were
         constituted by both, Petitioners.                        effected during the meeting, including a hike i n the sale price
                                                                  to $152,000, an acknowledgement that the $5,000 deposit
        En El Tribunal Supremo De Puerto Rico.                    would be credited against the sale price, and the establishment
                   No. CC-2000-564.                               of a 30-day term for signing the public deed of purchase and
                    Nov. 27, 2001.                                sale.7 Moreover, the seller promised to pay land taxes up to
                                                                  the day on which the public deed of purchase and sale was
                         Certiorari                               to be signed, and the buyer agreed to accept the terms of the
Justice RIVERA PÉREZ delivered the opinion of the Court.          existing lease contract on the property to be bought.8

Petitioners have resorted to this Court seeking certiorari of     The fifth contract clause stipulated the following:
a judgment of the Circuit Court of Appeals that affirmed            ––––––––– FIFTH; The mortgage liens at the time of
another judgment rendered by the Court of First Instance.           signing the Purchase and Sale Deed shall be assumed and/
Both courts had concluded that the parties, through an “option      or paid by THE PARTY OF THE SECOND PART [the
to purchase” contract, had agreed that the buyer would              Buyer]. Said mortgage liens si all be deducted from the sale
continue to pay the mortgage debt on the property in question,
                                                                    price.9
but that said obligation did not release the seller from the
originally constituted obligation to pay.
                                                                  The buyer was seeking a loan to pay the totality of the
                                                                  mortgage debt on the property, and the balance of the price
                              I                                   would be given to the seller. Although the contract signed
                                                                  by the parties was entitled “Option to Purchase,” is terms, as
Doctor Carlos T. García Cámara was the sole owner of a house      we will explain further on, do not meet the requirements for
located in Punta Arenas, within the Municipality of Cabo          that type of contract, but do establish that a purchase and sale
Rojo. At the time, the physician lived in a rented apartment at   contract was perfected and that the corresponding public deed
Villa Taína, in Boquerón, within that same municipality, and      would be executed at a later time.10
                                            1
was in the process of building a new house. Attorney Harold
Irizairy López was interested in buying a summer house. As        The buyer did not know whether the loan he was seeking
he was passing one day through the Punta Arenas sector, he        would be approved before the date accorded for signing the
saw that Dr. García Cámara's residence had a “FOR SALE”           public deed of purchase and sale.11 The parties postponed the
sign and contacted him.2 The ??                                   date of execution of the purchase and sale deed until May
                                                                  15, 1993, for reasons of travel and because the documents
They met at Dr. García Cámara's office, located in the            required from the seller in order to request the loan had not
Municipality of Cabo Rojo. There, they agreed that the sale       been delivered.12 Furthermore, the buyer sent by certified



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mail an additional $5,500 as deposit; this sum, added to the     not placed the court in a position to disturb the weighing of
previously delivered amount, totaled $10, 500.   13              evidence.


The buyer faxed to the seller a draft of the purchase and sale   Aggrieved by said decision, the defendant of record has come
deed, which set the sale price at $125,000 because $27,000       to this Court on certiorari, assigning the following errors to
would be delivered in cash. The document also provided           the Circuit Court of Appeals:
that the buyer would retain $67,145 from the sale price
“for payment in due time of the mortgage encumbering the
                                                                                       FIRST ERROR
property,”14 The seller informed the buyer that he did not
agree with the fact that the buyer was not formally; assuming      The [h]onorable Circuit Court of Appeals, Regional Circuit
the mortgage. This created an impasse between the parties,         IV of Aguadilla and Mayagüez, Panel I, erred in the
and the purchase and sale deed was not executed.15                 following:
                                                                      The [h]onorable Circuit Court of Appeals resolved our
On May 13, 1993, the buyer sued the seller for breach of              appeal on the grounds that we contested the weighing of
contract and damages. This notwithstanding, the seller offered        the evidence and failed to address the issues of strict law
the buyer an extension of the previously executed contract.           raised therein.
Said offer was contingent on the execution of the public
                                                                                      SECOND ERROR
deed of purchase and sale within 15 days following the date
on which the extension was signed, and on his release by           The [h]onorable Circuit Court of Appeals erred in f riling
H.F. Mortgage from the existing mortgage. Since the offer          to abide by the doctrine in awarding damages for mental
was not accepted, the seller then made a new offer under
                                                                   anguish and suffering in a breach of contract case.19
which the buyer would pay all notarial expenses, and he
                                                                 The petition was perfected, and we are ready to decide.
would be released from the mortgage to H.F. Motgage.16
Finally, Dr. García Cámara sold the property to other persons
for $120,000, as shown in public deed of purchase and sale                                     II
No. 809, executed in Mayaguez, Puerto Rico, before Notary
                                                                 Before discussing the errors assigned by petitioner, we must
Roberto M. García Rullán.17
                                                                 determine the nature of the contract executed by the parties.
                                                                 This is absolutely necessary in view of the fact that the
On November 12, 1999,18 the Court of First Instance rendered     parties entitled the contract an “option to purchase,” but
judgment for plaintiff in the action he had filed against Dr.    its content and the transactions between the parties reveal
García Cámara and, consequently, ordered the latter to pay       that the legal transaction perfected here was a purchase and
$10,500 to Atty. Irizarry López. The Court of First Instance     sale. It is important to bear in mind the true nature of the
concluded that the true intent of the contracting parties was    contract between the parties, since this will dictate the legal
that Atty. Irizarry López would continue paying the mortgage,    consequences and, therefore, the result of our analysis.
while Dr. García Cámara would continue to be bound by H.F.
Mortgage.                                                        Petitioner argues that the contract they signed was an option
                                                                 to purchase contract. This position was upheld by the Court
Aggrieved by this decision, Dr. García Cámara appealed to        of First Instance and he Circuit Court of Appeals. Now then,
the Circuit Court of Appeals on February 18, 2000. On April      did the parties actually sign an option to purchase contract?
28, 2000, the plaintiff of record filed an “opposition to the    We do not believe so.
appeal.” The intermediate appellate court rendered judgment
on May 16, 2000, and a copy of the notice of said judgment       [1-2] The option to purchase contract is not regulated
was filed in the record of the case on May 23, 2000. The court   by the Civil Code, but this jurisdiction has recognized
affirmed the judgment rendered by the Court of First Instance
                                                                 its existence.20 It is a consensual contract through which
after concluding that, according to the findings of fact drawn
                                                                 one party (promisor) grants the other party (optionee) the
by the Court of First Instance, the judgment below was correct
                                                                 exclusive right to unilaterally decide whether to purchase
at law and should not be disturbed because appellant had
                                                                 specific real property belonging to the promisor.21 This power



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must ?? toward the eventual execution of a purchase and               López bound himself to pay $152,000 as consideration. The
              23
sale contract. Its essential elements are: (1) the optionee           parties executed a purchase and sale contract in keeping with
is granted the power to unilaterally decide whether to                the definition of our Civil Code. We cannot lose sight of the
execute the principal (purchase and sale) contract without            fact that “[c]ontract[s] exist[] from the moment one or more
any obligation on his or her part; (2) this grant of power            persons consent to bind himself or themselves, with regard
is exclusive in nature; (3) a term is set for exercising the          to another or others, to give something or to render some
option; and (4) there is no other condition than the will of the      service.”27
optionee.24 We can infer from these factors that although the
option to purchase is a consensual contract, it as unilateral,        The parties here executed a purchase and sale contract
inasmuch as the optionee is under no obligation to purchase,          and set a term to complete the formality of executing the
while the prom ?? has the obligation to sell to the optionee if       corresponding public deed. This, however, did not affect the
the latter so decides.                                                validity of said contract. In Soto v. Rivera, 144 D.P.R. 500
                                                                      [44 P.R. Offic. Trans. _____ ] (1997), we addressed a similar
Let us examine the contract executed by the parties of record.        situation and held that the parties had executed a purchase and
The first test that refutes the allegation that the contract signed   sale contract and had left pending the formalities of executing
by the parties was an option to purchase is that it did not           the corresponding public documents because these could not
grant respondent the exclusive power to decide whether he             then be signed at the time. The wording of the contract at
wanted to purchase the real property in question. Neither was         issue here clearly shows, as in the aforecited case, that the
a term set for said party to exercise that power. The term            parties decided to reciprocally sell and buy; consequently, the
set was for executing and signing the corresponding public            purchase and sale contract was perfected.
deed of purchase and sale. Through the agreement signed by
the parties of record, petitioner and respondent were bound
                                                                                                   III
to each other. The former was obliged to sell, and the latter
to buy the real property involved in the contract. We must            [5] The freedom of contract principle governs in Puerto Rico.
perforce conclude that they did not execute an option to
                                                                      It is thus provided in sec. 1207 of our Civil Code,28 which
purchase contract, inasmuch as the contract executed by them
                                                                      states the following:
does not meet this Court's requirements for that type of legal
                                                                         The contracting parties may make the agreement and
transaction.
                                                                         establish the clauses and conditions which they may deem
                                                                         advisable, provided they are not in contravention of law,
What then was the legal transaction executed by the parties?
                                                                         morals, or public order.
We believe that it was a purchase and sale contract.

                                                                      [6] We have repeatedly held that the contractual intent is
[3] Civil Code sec. 133425 provides: “By a contract of                limited only by the standards set down in the cited statutory
purchase and sale one of the contracting parties binds himself
                                                                      provision.29
to deliver a specified thing and the other to pay a certain price
therefor in money or in something representing the same.”
                                                                      Civil Code sec. 121030 provides:
Likewise, Civil Code sec. 121326 provides that for a contract
                                                                        Contracts are perfected by mere consent, and from that time
to be valid, three elements must concur: consent, object, and
                                                                        they are binding, not only with regard to the fulfilment of
cause [consideration]. The contract executed by the parties of
                                                                        what has been expressly stipulated, but also with regard to
record contains the elements needed to constitute a purchase
                                                                        all the consequences which, according to their character,
and sale contract. Clearly both parties voluntarily consented
                                                                        are in accordance with good faith, use, and law.
to bind themselves. The property in question was the object
of the contract, and the sale price of $152,000 was the
                                                                      [7-8] We have held that contracts have force of law between
consideration.
                                                                      the parties, who must fulfill what was accorded as long
                                                                      as it does not contravene the law, morals or public order
[4] The contract executed by the parties is a purchase and sale
contract because through it, Dr. García Cámara bound himself          as provided in the cited statute.31 However, some contracts
to sell a specific thing (the real property), and Atty. Irizarry      require interpretation in order to determine the nature of
                                                                      the obligation incurred by the parties. For this reason, the


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Puerto Rico Civil Code establishes some provisions for the           Moreover, Civil Code sec. 123639 provides: “If any
                             32
interpretation of contracts. The first rule provides that the        stipulation of a contract should admit of different meanings,
clear wording of the clauses of a contract must be observed          it should be understood in the sense most suitable to give
when these clearly reflect the intent of the parties. In that        it effect.” Therefore, although one should take into account
respect, Civil Code sec. 123333 provides:                            the intent of the parties when construing contracts, the
   If the terms of the contract are clear and leave no doubt as      interpretation must be consonant with the principle of good
   to the intentions of the contracting parties, the literal sense   faith and cannot lead to incorrect, absurd, and unfair results.
   of its stipulations shall be observed.
   If the words should appear contrary to the evident intention
                                                                                                    IV
   of the contracting parties, the intention shall prevail.
   [Emphasis added.]                                                 The controversy at hand precisely revolves around the
                                                                     interpretation of a clause in a purchase and sale contract.
The cited statutory provision has been used by this Court in         Petitioner alleges that the Circuit Court of Appeals erred in
the interpretation of contracts whose clear wording leaves no        applying the prevailing doctrine on contract interpretation,
doubt as to the intent of the parties.34 In Marcial v. Tomé,         failed to apply the doctrine on assumption of debt, and
144 D.P.R. 522 [44 P.R. Offic. Trans. ____ ] (1997), we held         wrongly construed the cited contractual clause.
that the clear wording of the contract should be heeded when
it unequiovcally reflects the intent of the parties. Despite         In its fifth clause, the purchase and sale contract states that
this statutory provision, however, there are times when it           the buyer will assume and/or pay the mortgage liens on the
is not possible to determine the intent of the contracting           property to be sold at the moment the public deed of purchase
parties through a literal reading of the contract clauses.           and sale is signed. It also states that the buyer would retain and
For such reason, Civil Code sec. 123435 provides that the            deduct from the sale price the sum necessary to pay said liens.
intent of the contracting parties may be judged through
their acts, prior, contemporaneous, and subsequent to the            [10] Clearly what we have here is what is recognized in Puerto
perfection of the contract. We have repeatedly acknowledged          Rico as an assumption of debt.40 This legal concept allows a
the usefulness of these tests when construing contracts.36           third party to substitute for the original debtor with regard to
However, when construing a contract, one must presuppose             an obligation, thus releasing the original debtor from his or
fairness, correction and good faith in its wording and construe      her obligation to the creditor.41 However, for the substitution
it in such a manner that leads to results consonant with             to be effective, the creditor must consent to it, since his or
the contractual relationship as required by ethical standards.       her credit rights could be seriously affected.42 Absent the
In other words, one cannot seek to obfuscate or distort the          creditor's consent, what we have is a different concept: the
interpretation of contracts to reach absurd or unfair results.37     s abrogation of a third party in place of the debtor.43 The
                                                                     subrogation does not extinguish the obligation between the
[9] In Flores v. Flores Toledo, 101 D.P.R. 61 [1 P R. Offic.         original debtor and his or her creditor; rather, it gives rise
Trans. 91] (1973), we refused to affirm the interpretation           to a new relationship between the debtor and the third-party
given by the Court of First Instance to a lease contract
                                                                     subrogee.44 The original debtor is liable to the creditor for any
clause because that would lead to an absurd result. Likewise,
in Quiñones López v. Manzano Pozas, 141 D.P.R. 139 [41               default by the third-party subrogee.45
P.R. Offic. Trans. ____ ] (1996), we refused to construe an
insurance contract literally because this would result in an         Did the parties agree to a formal assumption of the mortgage-
injustice and would lead to an incorrect result. Civil Code sec.     secured debt? We believe so. The clear wording of the
                                                                     fifth clause of the purchase and sale contract provides that
123538 itself provides the following:
                                                                     the buyer will assume and/or pay the mortgage debt that
  However general the terms of the contract ma y be, there
                                                                     encumbered the property at the time of signing the purchase
  should not be understood as included therein things and
                                                                     and sale deed, and that the sum needed for that would be
  cases different from those with regard to which the persons
                                                                     retained from the sale price. This matter cannot be construed
  interested intended o contract.
                                                                     in any other way but that the parties agreed to release the seller
                                                                     from any liability to the mortgage creditor.



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                                                                    [12] Having construed the fifth clause of the purchase and sale
                                                                    contract in the manner described above, we must conclude
In fact, the only way to assume a debt is with the consent
                                                                    that respondent] has no cause of action against petitioner.
of the creditor. The opposite would be the subrogation of a
                                                                    What we have here is a purchase and sale cor tract that
third party in place of the original debtor, but leaving intact
                                                                    generates bilateral [mutual] obligations and under which both
the original relationship between the debtor an i the creditor.
                                                                    parties are bound to each other.48 Civil Code sec. 107749
                                                                    allows for the rescission of bilateral obligations in case of
                               V                                    nonperformance by any of the parties. Nonetheless, the party
                                                                    that defaults on his or her own obligation cannot seek specific
Even though we can dispose of this case by strictly applying
the rule discussed above, we shall examine the findings of fact     performance of a bilateral obligation.50 This principle is
drawn by the Court of First Instance.                               implicitly contained also in Civil Code sec. 1053,51 which
                                                                    provides that in mutual obligations none of the parties incurs
[11] In Puerto Rico it is a long-held rule that appellate courts    default if the other fails to fulfill or does not acquiesce to
will not disturb the findings of fact drawn by the Court of First   fulfill his or her obligation.
Instance unless said court is shown to be biased, prejudiced or
partial.46 We have held that, as a general rule, this Court will    Since the contract in this case is a purchase and sale contract
not disturb the findings drawn by that court, especially when       that generates bilateral obligations, Atty. Irizarry López has
                                                                    no cause of action against Dr. García Cámara. The dispute
no stipulated statement of evidence has been submitted.47
                                                                    arises from the former's failure to perform his obligation to
Petitioner here did not file a stipulated statement of evidence
                                                                    formally assume the mortgage debt or to pay it off in full.
in the Circuit Court of Appeals or in this Court Consequently,
                                                                    We cannot lose sight of the fact that the principle of good
we will not disturb the findings of fact drawn by the Court
                                                                    faith pervades our entire juridical scheme. Therefore, in order
of First Instance. We believe that these findings conclude that
                                                                    to assert a claim against Dr. García Cámara, Atty. Irizarry
it was the intent of the parties that the buyer would formally
                                                                    López had to perform in good faith the obligation to which he
assume the mortgage encumbering the property or, in the
                                                                    expressly agreed in the contract, which he did not do.
alternative, that he would pay it fully at the time of signing
the public deed of purchase and sale.
                                                                                                 VII
From their first conversation, the parties agreed that the
mortgage liens on the property--as shown by promissory              On the grounds stated above, the judgments of the Circuit
notes--would be cancelled. It was also shown that the buyer         Court of Appeals and the Court of First Instance are hereby
was seeking a loan to pay off the total debt and to give            reversed. Consequently, the complaint brought by respondent
the remaining sum to the seller. We also see that the seller,       in the Court of First Instance is dismissed.
petitioner here, was in the process of building a house, for
which he would probably need financing, and being bound by          Judgment will be rendered accordingly.
H.F. Mortgage would affect his chances of obtaining it. We
cannot lose sight of the fact that when the time came to sign       Justice Hernández Denton “dissents from the opinion of the
the purchase and sale contract, the parties made many changes       Court in the understanding that the parties in the instant case
to it in order to clarify its clauses. However, no change was       agreed to the subrogation of the buyer in place of the seller
made to the clause in question. A very relevant fact is that        with regard to the mortgage creditor. See Calo Rivera v.
the buyer, respondent here, is a lawyer; therefore, he knew or      Reyes, 115 D.P.R. 123 [15 P.R. Offic. Trans. 168] (1984).
should have known the implications of that clause. If he in         Contrary to the conclusion of the opinion of the Court, the
act had wanted to subrogate himself in place of the original        parties did not agree to an assumption of debt. Therefore, we
debtor he could have asked to have this clarified as they ??        would affirm the judgment of the Court of First Instance.”
                                                                    Justice Fuster Berlingeri concurred without a written opinion.

                               VI




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Footnotes
1     ***
2     ***
3     ***
4     Id.
5     Id.
6     Id. at 99.
7     ***
8     ***
9     ***
10    ***
11    Appendix to the petition for certiorari at 100.
12    Id.
13    ***
14    ***
15    ***
16    ***
17    ***
18    ***
19    ***
20    ***
21    ***
22    ***
23    ***
24    ***
25    ***
26    ***
27    31 L.P.R.A. § 3371.
28    31 L.P.R.A. § 3372.
29    Arthur Young & Co. v. Vega III, 136 D.P.R. 157 [36 P.R. Offic. Trans. ____ ] (1994); Plaza del Rey, Inc. v. Registrator,
       133 D.P.R. 188 [33 P.R. Offic. Trans. ____ ] (1993); Castano, Jr. v. Borintex Mfg. Corp., 133 D.P.R. 127 [33 P.R. Offic.
       Trans. ____ ] (1993); G.E. C. & L. v. So. T. & O. Dist., 132 D.P.R. 808 [32 P.R. Offic. Trans. ____ ] (1993); García v.
       World Wide Entmt. Co., 132 D.P.R. 378 [32 P.R. Offic. Trans. ____ ] (1992); Colling. Agrim. P.R. v. A.A.A., 131??
30     ***
31     ***
32     31 L.P.R.A. § 3471 et seq.
33     31 L.P.R.A. § 3471.
34     ***
35     ***
36     ***
37     ***
38     31 L.P.R.A. § 3473.
39     31 L.P.R.A. § 3474.
40     ??
41     ***
42     ***
43     ***
44     ***
45     ***


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51     ***


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